                                                                             Form 3                                                                          Page:               1

                                                             Summary Interim Asset Report
Trustee:              James A. Overcash (470100)                                                                  Blanket Bond Amount:                        $3,400,000.00
Period:               10/01/2021   - 09/30/2022                                                                   Per Case Limit:                             $3,400,000.00
                                                                                                                                                                   7

                                                                                                                                                       Date of Actual Disposition
                                                                                                                                           6                       by*:
                                                                             3                      4                    5                                 Final Report (TFR)
                                             2
            1                                                                                                                         Gross Value of      Final Account (TDR)
                                                                      Date Filed (f) or       Total Funds on          Amount of     Remaining Assets   Report of No Distribution
      Case Number                                                      Converted (c)        Deposit or Invested     Separate Bond     (from Form 1 -              (NDR)
                                         Case Name
                                                                       to Chapter 7            (from Form 2)           (if any)     excludes unknown          Conversion (C)
                                                                                                                                          values)              Dismissal (D)
                                                                                                                                                            Reassignment (R)
                                                                                                                                                        * If TFR not filed, insert
                                                                                                                                                        estimated (TFR(e)) date

 20-20219                Pinnacle Regional Hospital, Inc.            07/22/2020 (c)             $364,455.65                                    $0.00    08/01/2023 TFR(e)

 20-20225                Rojana Realty Investments, Inc.             07/22/2020 (c)              $97,357.81                                    $0.00    08/01/2023 TFR(e)

 20-20227                Joy's Majestic Paradise, Inc.               07/22/2020 (c)             $248,850.77                                    $0.00    08/01/2023 TFR(e)


    Totals          (Column 6 excludes unknown values)                           Cases: 3          $710,664.23                                 $0.00



I certify that I have filed and reviewed Forms 1 and 2 for all cases listed above and that they are accurate and correct to the best of my knowledge.


Trustee's signature: /s/ James A. Overcash                                                          Date signed:       10/27/22

Total Cases Reported: 3




                                     Case 20-20219               Doc# 845                 Filed 10/28/22             Page 1 of 6
                                                           Form 1
                                       Individual Estate Property Record and Report                                                                  Page: 2-1

                                                        Asset Cases
Case No.:    20-20219                                                                    Trustee Name:      (470100) James A. Overcash
Case Name:        Pinnacle Regional Hospital, Inc.                                       Date Filed (f) or Converted (c):    07/22/2020 (c)
                                                                                         § 341(a) Meeting Date:       09/03/2020
For Period Ending:       09/30/2022                                                      Claims Bar Date:      04/25/2021

                                   1                             2                      3                      4                    5                    6

                           Asset Description                  Petition/         Estimated Net Value     Property Formally     Sale/Funds            Asset Fully
                (Scheduled And Unscheduled (u) Property)    Unscheduled        (Value Determined By        Abandoned        Received by the      Administered (FA)/
                                                               Values                 Trustee,             OA=§554(a)           Estate            Gross Value of
                                                                              Less Liens, Exemptions,       abandon.                             Remaining Assets
  Ref. #                                                                         and Other Costs)

    1       CHECKING ACCOUNT AT COUNTRY                              500.00                   500.00                            237,784.82                            FA
            CLUB BANK XX7359

    2       ACCOUNTS RECEIVABLE                            122,705,963.56           122,705,963.56                                       0.00                         FA

    3       INVENTORY: MEDICAL SUPPLIES                       128,140.28                 128,140.28                                      0.00                         FA

    4       OFFICE FURNITURE AND EQUIPMENT                      30,000.00                   30,000.00                                    0.00                         FA

    5       MACHINERY, EQUIPMENT, AND                         978,104.12                 978,104.12                                      0.00                         FA
            VEHICLES

    6       POTENTIAL DAMAGE FOR MEDICARE                              0.00                      0.00                                    0.00                         FA
            LICENSE PROCEEDING

    7       REFUND OF PREMIUM                                   29,693.00                   29,693.00                              29,693.00                          FA
            OVERPAYMENT FOR PROFESSIONAL
            AND GENERAL LIABILITY INSURANCE
            POLICY WITH MEDICAL LIABILITY
            ALLIANCE (u)

    8       PREFERENCE PAYMENTS (u)                             62,732.91                   62,732.91                           106,232.91                       0.00

    9       FUNDS TRANSFER FROM CHAPTER                         Unknown                     Unknown                          1,420,132.23                             FA
            11 CASE (u)

   9        Assets Totals (Excluding unknown values)       $123,935,133.8          $123,935,133.87                          $1,793,842.96                       $0.00
                                                                        7


Major Activities Affecting Case Closing:

                                The remaining major activity before case closing process may start is to complete the evaluation and
                                prosecution of Chapter 5 actions.



Initial Projected Date Of Final Report (TFR): 08/01/2021                      Current Projected Date Of Final Report (TFR):             08/01/2023


                      10/27/2022                                                              /s/James A. Overcash
                           Date                                                               James A. Overcash




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                 20-20219                                                                            James A. Overcash (470100)
                 Pinnacle Regional Hospital, Inc.                                                    Metropolitan Commercial Bank
                 **-***2880                                                                          ******5881 Checking
                 09/30/2022                                                                          $3,400,000.00
                                                                                                     N/A




08/26/20   {9}   Pinnacle Regional Hospital, Inc    Transfer from Chapter 11 Trustee      1290-010     1,420,132.23                            1,420,132.23
                                                    Account
08/28/20   101   KILPATRICK TOWNSEND &              Payment of Chapter 11 Attorney        6700-140                          80,000.00          1,340,132.23
                 STOCKTON LLP                       for Creditor's Committee Fees
08/28/20   102   FTI CONSULTING, INC.               Payment of Chapter 11 Attorney        6700-140                          27,000.00          1,313,132.23
                                                    for Creditor's Committee Fees
08/28/20   103   CONROY BARAN                       Payment of Chapter 11 Attorney        6700-140                          18,000.00          1,295,132.23
                                                    for Creditor's Committee Fees
08/31/20         Metropolitan Commercial Bank       Bank and Technology Services          2600-000                            226.98           1,294,905.25
                                                    Fees
09/17/20   104   Woods Aitken LLP                   Order Granting Application for                                          17,429.85          1,277,475.40
                                                    Compensation 9/14/2020 (Fil.
                                                    #477)
                 Woods Aitken LLP                   Attorney for Trustee Fees             3110-000
                                                                            $17,422.00
                 Woods Aitken LLP                   Attorney for Trustee Expenses         3120-000
                                                                                  $7.85
09/30/20         Metropolitan Commercial Bank       Bank and Technology Services          2600-000                           2,229.79          1,275,245.61
                                                    Fees
10/30/20         Metropolitan Commercial Bank       Bank and Technology Services          2600-000                           2,038.30          1,273,207.31
                                                    Fees
11/11/20   105   COMMERCIAL CAPITAL                 Order Granting Motion to Approve      4210-000                          95,967.05          1,177,240.26
                 COMPANY, LLC                       Sale and Disburse Funds to
                                                    Commercial Capital Company,
                                                    LLC 7/2/20 (Fil. #348)
11/13/20   106   STINSON                            Order Granting Application for        6210-000                          42,583.50          1,134,656.76
                                                    Compensation 11/12/2020 (Fil.
                                                    #526)
11/30/20         Metropolitan Commercial Bank       Bank and Technology Services          2600-000                           1,949.05          1,132,707.71
                                                    Fees
12/11/20   107   Great Western Bank                 Order Granting Trustee's Motion       4110-000                         754,458.04           378,249.67
                                                    for Authority to Disburse Sale No.
                                                    3 Net Proceeds (Fil. #544)
12/11/20   108   Larry A. Pittman, Trustee          Order Granting Trustee's Motion       4110-000                         323,922.77               54,326.90
                                                    for Authority to Disburse Sale No.
                                                    3 Net Proceeds (Fil. #544)
12/18/20   109   INTERNATIONAL SURETIES,            Bond #016225903                       2300-000                            141.11                54,185.79
                 LTD.
12/23/20   110   STINSON LLP                        Order Granting Application for                                          41,476.00               12,709.79
                                                    Compensation 12/22/2020 (Fil.
                                                    #553)
                 STINSON LLP                        Attorney for Trustee Fees             3210-000
                                                                            $40,045.00
                 STINSON LLP                        Attorney for Trustee Expenses         3220-000
                                                                             $1,431.00
12/31/20         Metropolitan Commercial Bank       Bank and Technology Services          2600-000                           1,645.98               11,063.81
                                                    Fees
01/29/21         Metropolitan Commercial Bank       Bank and Technology Services          2600-000                            518.94                10,544.87
                                                    Fees
02/26/21         Metropolitan Commercial Bank       Bank and Technology Services          2600-000                            483.02                10,061.85
                                                    Fees
03/15/21   {7}   Medical Liability Alliance         Refund of Premium Overpayment         1229-000         29,693.00                                39,754.85




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                 20-20219                                                                           James A. Overcash (470100)
                 Pinnacle Regional Hospital, Inc.                                                   Metropolitan Commercial Bank
                 **-***2880                                                                         ******5881 Checking
                 09/30/2022                                                                         $3,400,000.00
                                                                                                    N/A




03/31/21         Metropolitan Commercial Bank       Bank and Technology Services         2600-000                            43.11               39,711.74
                                                    Fees
04/28/21   111   INTERNATIONAL SURETIES,            Bond #016225903 04/01/21-            2300-000                           137.08               39,574.66
                 LTD.                               04/01/22
04/30/21         Metropolitan Commercial Bank       Bank and Technology Services         2600-000                            63.64               39,511.02
                                                    Fees
05/28/21         Metropolitan Commercial Bank       Bank and Technology Services         2600-000                            59.13               39,451.89
                                                    Fees
06/30/21         Metropolitan Commercial Bank       Bank and Technology Services         2600-000                            69.55               39,382.34
                                                    Fees
07/09/21   112   KANSAS SECRETARY OF                Filing Fee for Certificate of        2990-004                           120.00               39,262.34
                 STATE                              Reinstatement
                                                    Voided on 07/22/2021
07/09/21   113   KANSAS SECRETARY OF                Filing Fee for Annual Report         2990-004                            55.00               39,207.34
                 STATE                              Voided on 11/01/2021
07/13/21   {1}   Country Club Bank                  Return of Funds from Closed Bank     1129-000         237,784.82                         276,992.16
                                                    Account
07/22/21   112   KANSAS SECRETARY OF                Filing Fee for Certificate of        2990-004                          -120.00           277,112.16
                 STATE                              Reinstatement
                                                    Voided: check issued on
                                                    07/09/2021
07/22/21   114   KANSAS SECRETARY OF                Filing Fee for Certificate of        2990-004                            35.00           277,077.16
                 STATE                              Reinstatement
                                                    Voided on 11/01/2021
07/30/21         Metropolitan Commercial Bank       Bank and Technology Services         2600-000                           279.07           276,798.09
                                                    Fees
08/31/21         Metropolitan Commercial Bank       Bank and Technology Services         2600-000                           473.36           276,324.73
                                                    Fees
09/20/21   {8}   REMEDY SLEEP MEDICINE LLC          Preference Payment                   1241-000           6,536.66                         282,861.39
09/20/21   {8}   MEDICAL LIABILITY ALLIANCE         Preference Payment                   1241-000           9,196.25                         292,057.64
09/20/21   {8}   SURGALIGN SPINE                    Preference Payment                   1241-000          45,000.00                         337,057.64
                 TECHNOLOGIES, INC.
09/30/21         Metropolitan Commercial Bank       Bank and Technology Services         2600-000                           475.46           336,582.18
                                                    Fees
10/29/21         Metropolitan Commercial Bank       Bank and Technology Services         2600-000                           521.60           336,060.58
                                                    Fees
11/01/21   113   KANSAS SECRETARY OF                Filing Fee for Annual Report         2990-004                           -55.00           336,115.58
                 STATE                              Voided: check issued on
                                                    07/09/2021
11/01/21   114   KANSAS SECRETARY OF                Filing Fee for Certificate of        2990-004                           -35.00           336,150.58
                 STATE                              Reinstatement
                                                    Voided: check issued on
                                                    07/22/2021
11/15/21   115   DYLAN CORPORATE                    Preparation of 2021 Tax Returns      3410-000                         3,000.00           333,150.58
                 SERVICES, INC.
11/17/21   116   STINSON LLP                        Order Granting Second Interim        3210-000                         7,512.15           325,638.43
                                                    Fee App of Stinson LLP 10/14/21
                                                    (Fil. #668)
11/30/21         Metropolitan Commercial Bank       Bank and Technology Services         2600-000                           571.14           325,067.29
                                                    Fees
12/31/21         Metropolitan Commercial Bank       Bank and Technology Services         2600-000                           538.36           324,528.93
                                                    Fees
01/31/22         Metropolitan Commercial Bank       Bank and Technology Services         2600-000                           502.79           324,026.14
                                                    Fees
02/28/22         Metropolitan Commercial Bank       Bank and Technology Services         2600-000                           484.75           323,541.39
                                                    Fees


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                 20-20219                                                                         James A. Overcash (470100)
                 Pinnacle Regional Hospital, Inc.                                                 Metropolitan Commercial Bank
                 **-***2880                                                                       ******5881 Checking
                 09/30/2022                                                                       $3,400,000.00
                                                                                                  N/A




03/31/22         Metropolitan Commercial Bank       Bank and Technology Services       2600-000                           570.45              322,970.94
                                                    Fees
04/05/22   117   INTERNATIONAL SURETIES,            Bond No. 016225903                 2300-000                           729.75              322,241.19
                 LTD.
04/29/22         Metropolitan Commercial Bank       Bank and Technology Services       2600-000                           499.68              321,741.51
                                                    Fees
05/31/22   {8}   Cardinal Health                    Preference Payment from Cardinal   1241-000          2,000.00                             323,741.51
                                                    Health
05/31/22         Metropolitan Commercial Bank       Bank and Technology Services       2600-000                           498.47              323,243.04
                                                    Fees
06/22/22   {8}   OEC Medical Systems, Inc.          Preference Payment from OEC        1241-000          2,000.00                             325,243.04
                                                    Medical Systems, Inc.
06/30/22         Metropolitan Commercial Bank       Bank and Technology Services       2600-000                           570.38              324,672.66
                                                    Fees
07/07/22   {8}   Johnson Legal Network, PLLC        WIRE FROM JOHNSON LEGAL            1241-000          2,000.00                             326,672.66
                                                    NETWORK - Preference Payment
07/15/22   {8}   Third Coast Commercial Capital     WIRE FROM THIRD COAST              1241-000         17,000.00                             343,672.66
                                                    COMMERCIAL FOR
                                                    PREFERENCE PAYMENT
07/29/22         Metropolitan Commercial Bank       Bank and Technology Services       2600-000                           518.08              343,154.58
                                                    Fees
08/23/22   {8}   Stryker Corporation                WIRE FROM STRYKER                  1241-000         22,000.00                             365,154.58
                                                    CORPORATION
08/31/22         Metropolitan Commercial Bank       Bank and Technology Services       2600-000                           614.38              364,540.20
                                                    Fees
09/19/22   {8}   Community America Credit           Payment on Preference Case from    1241-000           500.00                              365,040.20
                 Union/Remitter Felton              Felton Chiropractic LLC
                 Chiropractic LLC
09/30/22         Metropolitan Commercial Bank       Bank and Technology Services       2600-000                           584.55              364,455.65
                                                    Fees



                                          Less: Bank Transfers/CDs                                           0.00              0.00


                                          Less: Payments to Debtors                                                            0.00




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                                                       Form 2
                                                                                                                           Page: 3-4
                                       Cash Receipts And Disbursements Record
Case No.:           20-20219                              Trustee Name:                    James A. Overcash (470100)
Case Name:          Pinnacle Regional Hospital, Inc.      Bank Name:                       Metropolitan Commercial Bank
Taxpayer ID #:      **-***2880                            Account #:                       ******5881 Checking
For Period Ending: 09/30/2022                             Blanket Bond (per case limit): $3,400,000.00
                                                          Separate Bond (if applicable): N/A

                                       Net Receipts:     $1,793,842.96
                           Plus Gross Adjustments:               $0.00
                         Less Payments to Debtor:                $0.00
                 Less Other Noncompensable Items:                $0.00

                                         Net Estate:     $1,793,842.96




                                                                                              NET                    ACCOUNT
                                 TOTAL - ALL ACCOUNTS                  NET DEPOSITS      DISBURSEMENTS               BALANCES
                                 ******5881 Checking                       $1,793,842.96       $1,429,387.31            $364,455.65

                                                                           $1,793,842.96           $1,429,387.31          $364,455.65




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